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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


PATH TO RICHES, LLC, directly and     :
derivatively on behalf of M.M.T.      :
DIAGNOSTICS (2014), LTD.,             :
               Plaintiff,             :
                                      :
                 v.                   :
                                      :                           CIVIL ACTION
CARDIOLYNC, INC., GAMLIEL KAGAN       :                           No. 17-161
a/k/a GAM KAGAN, and DR. JACOB LEVY, :
            Defendants,               :
                                      :
     and                              :
                                      :
M.M.T. DIAGNOSTICS (2014), LTD.       :
a/k/a/ GAM KAGAN, and DR. JACOB LEVY, :
            Nominal Defendant.        :



                                             ORDER

       This 21st day of February, 2018, upon consideration of Defendants’ Motion to Dismiss

(ECF No. 13), and all responses thereto, it is hereby ORDERED that Defendants’ Motion is

GRANTED and this case is DISMISSED on the basis of forum non conveniens, contingent on

Defendants’ consent to personal jurisdiction in Israel.




                                                           /s/ Gerald Austin McHugh
                                                     United States District Judge
